                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   STATESVILLE DIVISION
                          CIVIL ACTION NO. 5:16-CV-00009-KDB-DCK

        DELORIS GASTON AND
        LEONARD GASTON,

                 Plaintiffs,

                 v.                                   ORDER AND STIPULATED
                                                           JUDGMENT

        LEXISNEXIS RISK SOLUTIONS,
        INC. AND POLICEREPORTS.US,
        LLC,

                 Defendants.



       THIS MATTER is before the Court on the Stipulation of all the Parties (Plaintiffs Deloris

Gaston and Leonard Gaston and Defendants LexisNexis Risk Solutions Inc. and

PoliceReports.US, LLC) (Dkt. No.156) and Defendants’ Motion to Stay All Proceedings Pending

Appeal (Dkt. No. 155). Pursuant to the agreement of the Parties, as reflected in their Stipulation

and memoranda, the Court will enter the following Order and Stipulated Judgment, which resolves

or stays all the issues still pending before the Court in this matter. Accordingly, the Parties will be

able to immediately and fully assert their respective appeals from the Court’s various rulings, and

the Court of Appeals will be able to consider all those appeals more efficiently in one proceeding.

       On September 2, 2020, the Court entered an Order concerning Plaintiffs’ motion for class

certification and the Parties’ cross-motions for summary judgment (Dkt. No. 148) (the “Order”).

Expressly conditioned on their agreement that all “Parties specifically reserve, preserve, and do

not waive their right to appeal the Court’s rulings and determinations reflected in the Order,” the

Parties have stipulated and agreed that a jury hearing the evidence that would be presented at the

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trial on the issues left outstanding by the Order, and instructed in a manner consistent with the

Court’s conclusions in the Order, would enter a verdict in favor of the Rule 23(b)(2) Class.

Accordingly, the Parties agree that the Court should enter the Judgment below enjoining the

Defendants in the same manner with respect to the full certified Rule 23(b)(2) Class as they have

been enjoined as to the certified Rule 23(b)(2) Subclass. This Stipulation and Judgment will leave

pending only the Plaintiffs’ individual claims for liquidated damages of $2500 each, which the

Court will stay in the interest of judicial economy pending the Parties’ appeals (which may well

resolve the need for trial of those claims). Further, the Court specifically finds pursuant to Rule 54

of the Federal Rules of Civil Procedure that there is no just reason for delay in the appellate

consideration of all of the Court’s judgments and rulings with respect to class claims and issues as

reflected in its September 2, 2020 Order and this Order as final judgments.

       NOW THEREFORE IT IS ORDERED THAT:

       1.      The Court Adjudges and Decrees that the Injunction entered with respect to the

Rule 23(b)(2) Subclass prohibiting Defendants and other related parties from, inter alia, disclosing

or making access available to certain vehicle accident reports containing “personal information”

as defined in the Driver’s Privacy Protection Act (“DPPA”) without redacting the personal

information, obtaining the consent of the person whose personal information appears on the record

or having a good faith belief that the accident report will be used for a specific purpose permitted

by the DPPA, (Dkt. No. 148 at 47), is hereby extended to the entire Rule 23(b)(2) Class certified

by the Court. (See Dkt. No. 148 at 34);

       2.       Plaintiffs’ and Defendants’ rights to appeal, including without limitation the right

to challenge the Court’s rulings and determinations in its September 2, 2020 Order (Dkt. No.

148) and any judgment the Court has entered, are preserved and not waived by this Judgment;



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       3.       Further proceedings on the Plaintiffs’ individual claims for liquidated damages

are stayed pending conclusion of the Parties’ respective appeals of the Court’s September 2,

2020 Order (Dkt. No. 148);

       4.       The Court stays and defers consideration of Plaintiffs’ motion for attorney

fees and costs pursuant to Fed. R. Civ. P. 54 until after a ruling on the Parties’ appeals; and

       5.       The trial in this matter currently scheduled to begin on October 26, 2020 is

canceled;



       SO ORDERED ADJUDGED AND DECREED.




                                        Signed: October 2, 2020




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